Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1378   Page 1
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1379   Page 2
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1380   Page 3
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1381   Page 4
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1382   Page 5
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1383   Page 6
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1384   Page 7
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1385   Page 8
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1386   Page 9
                                    of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1387   Page 10
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1388   Page 11
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1389   Page 12
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1390   Page 13
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1391   Page 14
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1392   Page 15
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1393   Page 16
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1394   Page 17
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1395   Page 18
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1396   Page 19
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1397   Page 20
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1398   Page 21
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1399   Page 22
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1400   Page 23
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1401   Page 24
                                     of 25
Case 3:25-cv-00885-JLS-BLM   Document 20 Filed 05/07/25   PageID.1402   Page 25
                                     of 25
